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Susman Godfrey l.l.p.

January 16, 2025
Hon. Ona T. Wang
Southern District of New York
500 Pearl Street
New York, New York 10007

                 Re:     The New York Times Company v. Microsoft Corporation, et al.,
                         No.: 23-cv-11195-SHS: Opp. to OpenAI’s Motion to Compel, ECF 383
Dear Magistrate Judge Wang:
       On January 14, The Times offered to supplement its responses to OpenAI’s RFAs 36, 37,
and 39 to admit or deny these Requests prior to the close of fact discovery. While OpenAI has
refused this offer, that should moot this dispute. The Court should deny its motion at ECF 383.
        RFAs, as provided for by Rule 36, are “not a discovery device. The purpose of the rule is
to reduce the costs of litigation by eliminating the necessity of proving facts that are not in
substantial dispute, to narrow the scope of disputed issues, and to facilitate the presentation of
cases to the trier of fact.” T. Rowe Price Small-Cap Fund, Inc. v. Oppenheimer & Co., 174 F.R.D.
38, 42 (S.D.N.Y. 1997). OpenAI’s RFAs 36, 37, and 39 accomplish none of those purposes.
        First, these requests cannot be straightforwardly admitted or denied, as they do not seek
straightforward factual information. Rather, they seek information about the implications of and
permissible behavior under The Times’s content licenses. Terms of such licenses may not always
be straightforward: As counsel for OpenAI has acknowledged elsewhere, some developers of AI
tools are concerned that entering into licenses will hurt them in litigation, as they worry that such
licenses demonstrate the existence of a licensing market and cut against any fair use argument they
may want to make.1 The consequence of this is that parties seeking to license data for training
generative AI may draft terms in a manner that obscures the intended use of the licensed data. The
Times has agreed to produce the actual licenses for its Asserted Works and it will do so. OpenAI
should look to those licenses for discovery into their terms, not ask The Times to interpret them in
response to an RFA. Delgado v. Donald J. Trump for President, Inc., 2024 WL 3219809, at *7
(S.D.N.Y. June 28, 2024) (“[C]ourts deny RFAs asking a party to interpret the meaning of a
document rather than its authenticity.”); Xia v. New Yung Wah Carrier LLC, 2022 WL 18858941,
at *1 (E.D.N.Y. June 3, 2022) (“RFAs are not a discovery device; they are to narrow issues known
to the requesting party.” (citation omitted)).
        Second, because The Times has already agreed to produce its licenses, along with
communications related to executed and contemplated agreements to license The Times’s works
to train generative AI models, OpenAI’s RFAs do not change the scope of discovery. This


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  See comments by Joseph Gratz, made as part of a panel for the Media Law Resource Center (MLRC) and
Berkeley Center for Law & Technology’s, Legal Frontiers in Digital Media 2024 Conference, an excerpt of the
transcript of which is attached as Exhibit A (highlighting added).
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underscores that The Times should not be required to go through the exercise of considering the
permissible uses under each of those agreements now.
        Third, OpenAI’s RFAs 36, 37, and 39 cannot be answered with a straightforward response
insofar as the requests seek information in a dynamic landscape. The RFAs do not ask The Times
to admit that, as of a specific date, it had not entered certain licenses; they simply ask for an
admission covering all time. Accordingly, in the event the answer to one or more of OpenAI’s
RFAs changes during the course of discovery, The Times will be required to amend the response
regardless. Rather than requiring it to do so, the Court should hold that the appropriate time for
The Times to respond to these requests is, if at all, at the end of discovery.
        The Times reached out to OpenAI and offered to supplement its responses to these RFAs
prior to the close of discovery. OpenAI rejected this offer, insisting that it needs a response now
to assess whether it deems The Times’s responses adequate. Ex. B (1/15 Salomon email). But
OpenAI is not entitled to any more than an admission or denial. See, e.g., Republic of Turkey v.
Christie’s, Inc., 326 F.R.D. 394, 400 (S.D.N.Y. 2018) (quoting Bernstein v. Principal Life Ins.
Co., 2010 WL 4922093, at *4 (S.D.N.Y. Dec. 2, 2010)) (denying a motion to compel amended
RFA responses where a party answered with a denial, stating “[a]lthough defendant may disagree
with these responses, that disagreement does not render the responses inadequate”). OpenAI has
provided no basis to require that admission or denial now. See Siani v. Suny Farmingdale, 2009
WL 3254924, at *1 (E.D.N.Y. Oct. 7, 2009) (denying motion to compel response to RFAs and
stating, “I note that the use of Requests for Admissions at this stage of a litigation is not desirable.
Such requests are best used to narrow issues for trial, not to ‘discover’ information”).
       The Court should deny OpenAI’s motion at ECF 383.
       .
                                                       Respectfully submitted,

                                                       /s/ Ian B. Crosby
                                                       Ian B. Crosby
                                                       Susman Godfrey L.L.P.

                                                       /s/ Steven Lieberman
                                                       Steven Lieberman
                                                       Rothwell, Figg, Ernst & Manbeck

 cc:   All Counsel of Record (via ECF)
